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9    United States of America
10
                             UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                     WESTERN DIVISION
13
     UNITED STATES OF AMERICA,                       No. 2:18-cv-00803
14
                Plaintiff,                           COMPLAINT TO REDUCE FEDERAL
15                                                   PENALTY ASSESSMENT TO
16                     v.                            JUDGMENT

17   JANE BOYD,
18              Defendant.
19
20         Plaintiff United States of America, by its undersigned counsel, for its complaint
21   against the above-named defendant, alleges as follows:
22                              GENERAL ALLEGATIONS
23    1.   This is a civil action to reduce to judgment a federal Foreign Bank and Financial
24         Accounts (FBAR) penalty assessment against defendant JANE BOYD
25         (“defendant”).
26
      2.   This action is brought under 31 U.S.C. § 3711(g)(4)(C), at the direction of the
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           Attorney General of the United States and at the request and with the authorization
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1          of the Chief Counsel of the Internal Revenue Service (“IRS”), a delegate of the
2          Secretary of the Treasury.
3     3.   The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and
4          1345 because this action arises under the laws of the United States and because the
5          United States is the plaintiff.
6     4.   Venue for the action is within the Central District of California under 28 U.S.C. §
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           1391(a)(1) because defendant resides within this judicial district.
8
                   FAILURE TO REPORT FOREIGN BANK ACCOUNTS
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      5.   Section 5314 of Title 31 of the United States Code authorizes the Secretary of the
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           Treasury to require United States citizens to report certain transactions with
11
           foreign financial agencies.
12
      6.   Under the implementing regulations of § 5314, “[e]ach United States person
13
14         having a financial interest in, or signature or other authority over, a bank,

15         securities, or other financial account in a foreign country shall report such
16         relationship to the Commissioner of Internal Revenue for each year in which such
17         relationship exists[.]” 31 C.F.R. § 1010.350(a).
18    7.   The report must be filed with the IRS on a Report of Foreign Bank and Financial
19         Accounts which is also referred to as an FBAR. The report is due by June 30 “of
20         each calendar year with respect to foreign financial accounts exceeding $10,000
21         maintained during the previous calendar year.” 31 C.F.R. § 1010.306(c).
22    8.   Under 31 U.S.C. § 5321(b)(2)(A), the Government may bring suit to recover the
23         penalty assessed under 31 U.S.C. § 5321(a) at any time before the end of the 2-
24
           year period beginning on the date the penalty was assessed.
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      9.   This action is brought within the two-year limitations period specified in 31
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           U.S.C. § 5321(b)(2)(A).
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1     10. During the year 2010, defendant, a U.S. citizen, had a financial interest, signatory
2          authority and/or otherwise controlled the following foreign bank accounts in the
3          United Kingdom (“UK bank accounts”):
4           Name                                      Last 4 Digits of Account Number
5           NS&I                                      7712
6
            Investco Perpetual                        1187
7
            Henderson Global Investors                6613
8
            Henderson Global Investors                2526
9
            Baille Gifford                            3389
10
11          Halifax                                   7166/2144

12          HSBC                                      3099
13          HSBC                                      5957
14          HSBC                                      5841
15          HSBC                                      5930
16          Northern Rock                             4249
17          Santander                                 1566
18          HSBC                                      1743
19
20
      11. In 2010, defendant’s UK bank accounts had an aggregate balance that exceeded
21
           $10,000.
22
      12. Defendant was required by law to file a FBAR disclosing her financial interest in
23
           her UK bank accounts for 2010, but failed to timely disclose her financial interest
24
           in her UK bank accounts.
25
26    13. For the year 2010, defendant failed to report the income she deposited into her UK

27         bank accounts, and failed to timely report the interest or dividend income she
28         earned from her UK bank accounts on her federal income tax returns, Form 1040.

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1                    REDUCTION OF ASSESSMENTS TO JUDGMENT
2      14. On June 9, 2016, a delegate of the Secretary of the Treasury made a federal FBAR
3          penalty assessment against defendant for the 2010 calendar year in the amount of
4          $47,279.00, pursuant to 31 U.S.C. § 5314, plus a late payment penalty pursuant to
5          31 U.S.C. § 3717(e)(2) in the amount of $1,453.16.
6      15. On June 10, 2016, notice and demand for payment of the FBAR penalty was sent
7
           to defendant.
8
       16. Interest has accrued on the penalties as provided by law and remains unpaid. As
9
           of May 26, 2017, the unpaid balance owed to the United States for the FBAR
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           penalty, late payment penalty, and interest is $49,185.53.
11
       17. Despite timely notice and demand for payment of the FBAR penalty assessment
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           for the 2010 calendar year, defendant has neglected, failed, or refused to pay in
13
14         full said assessment, and there remains due and owing from defendant, on the

15         FBAR penalty assessment, late payment penalty, and interest for the 2010
16         calendar year, as of May 26, 2017, the sum of $49,185.53, plus accrued interest,
17         penalties, and other statutory additions as provided by law, incurred before and
18         after the filing of this Complaint.
19   WHEREFORE, plaintiff United States of America prays that the Court:
20     A. Enter judgment in favor of the United States of America and against defendant for
21         an unpaid FBAR penalty liability pursuant to 31 U.S.C. § 5321(a)(5) for the 2010
22         calendar year, in the amount of $49,185.53, plus interest, penalties (including the
23         late payment penalty pursuant to 31 U.S.C. § 3717(e)(2) and interest on this
24         penalty), and other statutory additions as provided by law, accruing after May 26,
25         2017.
26   ///
27   ///
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1     B.   Award plaintiff United States of America its costs and such other further relief as
2          is just and proper.
3
4     Dated: 01/31/2018                        Respectfully submitted,
5                                              NICOLA T. HANNA
                                               United States Attorney
6                                              THOMAS D. COKER
                                               Assistant United States Attorney
7                                              Chief, Tax Division
8
9                                              /s/

10                                             VALERIE L.MAKAREWICZ
                                               Assistant United States Attorney
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                                               Attorneys for Plaintiff
12                                             UNITED STATES OF AMERICA
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